                    Case 17-12472-M Document 1 Filed in USBC ND/OK on 12/19/17 Page 1 of 33

Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF OKLAHOMA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Favor of God Ministries, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                                                                                  c/o Austin Wilkerson
                                  1860 W. 58th St.                                                11340 Tarrance Road
                                  Tulsa, OK 74107                                                 Louisville, KY 40299
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Tulsa                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       none


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                    Case 17-12472-M Document 1 Filed in USBC ND/OK on 12/19/17 Page 2 of 33
Debtor    Favor of God Ministries, Inc.                                                                Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 3110

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                    Case 17-12472-M Document 1 Filed in USBC ND/OK on 12/19/17 Page 3 of 33
Debtor   Favor of God Ministries, Inc.                                                             Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                    Case 17-12472-M Document 1 Filed in USBC ND/OK on 12/19/17 Page 4 of 33
Debtor    Favor of God Ministries, Inc.                                                            Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      December 17, 2017
                                                  MM / DD / YYYY


                             X   /s/ Joseph Horevay                                                       Joseph Horevay
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Sole Director




18. Signature of attorney    X   /s/ Ron D. Brown OBA                                                      Date December 17, 2017
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Ron D. Brown OBA 16352
                                 Printed name

                                 Brown Law Firm PC
                                 Firm name

                                 715 S. Elgin Ave.
                                 Tulsa, OK 74120
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     918-585-9500                  Email address      ron@ronbrownlaw.com

                                 16352
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                 Case 17-12472-M Document 1 Filed in USBC ND/OK on 12/19/17 Page 5 of 33




 Fill in this information to identify the case:

 Debtor name         Favor of God Ministries, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          December 17, 2017                       X /s/ Joseph Horevay
                                                                       Signature of individual signing on behalf of debtor

                                                                       Joseph Horevay
                                                                       Printed name

                                                                       Sole Director
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
                   Case 17-12472-M Document 1 Filed in USBC ND/OK on 12/19/17 Page 6 of 33
 Fill in this information to identify the case:

 Debtor name            Favor of God Ministries, Inc.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $                    7.17

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $                    7.17


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$            85,000.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $              85,000.00




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
                  Case 17-12472-M Document 1 Filed in USBC ND/OK on 12/19/17 Page 7 of 33
 Fill in this information to identify the case:

 Debtor name         Favor of God Ministries, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                    Chase Business Checking Account-
           3.1.     balance as of July 31, 2017                             Checking                        5335                                             $6.23



                    Bank of America Checking- account
           3.2.     balance as of June 30, 2017                             Checking                        2656                                             $0.94



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                           $7.17
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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                 Case 17-12472-M Document 1 Filed in USBC ND/OK on 12/19/17 Page 8 of 33

 Debtor         Favor of God Ministries, Inc.                                                Case number (If known)
                Name

13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                   page 2
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                  Case 17-12472-M Document 1 Filed in USBC ND/OK on 12/19/17 Page 9 of 33

 Debtor          Favor of God Ministries, Inc.                                                                       Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $7.17

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                      $7.17       + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                          $7.17




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 3
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               Case 17-12472-M Document 1 Filed in USBC ND/OK on 12/19/17 Page 10 of 33
 Fill in this information to identify the case:

 Debtor name         Favor of God Ministries, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
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                Case 17-12472-M Document 1 Filed in USBC ND/OK on 12/19/17 Page 11 of 33
 Fill in this information to identify the case:

 Debtor name         Favor of God Ministries, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                                      Check if this is an
                                                                                                                                                      amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $85,000.00
           Hawk Island Leasing, LLC                                             Contingent
           c/o Norton, Hammersley, Lopez & Skokos                               Unliquidated
           1819 Main Street, Suite 610
           Sarasota, FL 34236                                                   Disputed

           Date(s) debt was incurred Amended Complaint                                        Business Expense-
                                                                             Basis for the claim:
           filed 7/7/2017                                                    Twelfth Judicial Circuit Sarasota County, Florida
                                                                             Case No. 2017-CA-003386 NC
           Last 4 digits of account number
                                                                             Debt is not disputed as to debtor; but allegations of fraudulent
                                                                             transfer and claims against codebtors are disputed
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the             Last 4 digits of
                                                                                                      related creditor (if any) listed?                   account number, if
                                                                                                                                                          any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                              0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                         85,000.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                              85,000.00




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                         41068                                               Best Case Bankruptcy
               Case 17-12472-M Document 1 Filed in USBC ND/OK on 12/19/17 Page 12 of 33
 Fill in this information to identify the case:

 Debtor name         Favor of God Ministries, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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               Case 17-12472-M Document 1 Filed in USBC ND/OK on 12/19/17 Page 13 of 33
 Fill in this information to identify the case:

 Debtor name         Favor of God Ministries, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Carole Ward                       1767 Lakewood Ranch Boulevard Number              Hawk Island Leasing,               D
                                               223                                               LLC                                E/F       3.1
                                               Bradenton, FL 34211
                                                                                                                                    G




    2.2      Daryl Anderson                    3580 West 54th Street                             Hawk Island Leasing,               D
                                               Cleveland, OH 44102                               LLC                                E/F       3.1
                                                                                                                                    G




    2.3      Favour Africa,                    1767 Lakewood Ranch Blvd 223                      Hawk Island Leasing,               D
             Inc.                              Bradenton, FL 34211-4906                          LLC                                E/F       3.1
                                                                                                                                    G




    2.4      Joseph Horevay                    1969 East 123rd St Unit 4                         Hawk Island Leasing,               D
                                               Cleveland, OH 44106                               LLC                                E/F       3.1
                                                                                                                                    G




    2.5      Tossie Wiley, Jr.                 231 Crescent Ridge Drive                          Hawk Island Leasing,               D
                                               Independence, OH 44131                            LLC                                E/F       3.1
                                                                                                                                    G




Official Form 206H                                                         Schedule H: Your Codebtors                                         Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Favor of God Ministries, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $166,222.76
       From 1/01/2017 to Filing Date
                                                                                                   Other    Donations


       For prior year:                                                                             Operating a business                                  Unknown
       From 1/01/2016 to 12/31/2016
                                                                                                   Other    Donations


       For year before that:                                                                       Operating a business                                  Unknown
       From 1/01/2015 to 12/31/2015
                                                                                                   Other    Donations

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       Favor of God Ministries, Inc.                                                             Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
    may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    FAVOUR OF GOD MINISTRIES                                    various                            Unknown            Debtor transferred property to
               (NGO in Gulu District, Uganda)                                                                                    this entity. Debtor does not
               1767 Lakewood Ranch Blvd 223                                                                                      believe this entity to be an
               Bradenton, FL 34211-4906                                                                                          "insider" according to 11 USC
                                                                                                                                 101(31) but makes this entry in
                                                                                                                                 the spirit of full disclosure.

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Hawk Island Leasing, LLC a                        Civil Debt                 Twelfth Judicial Circuit                     Pending
               Florida Limited Liability                                                    Sarasota County                              On appeal
               Company, Doing Business as                                                   2000 Main St
                                                                                                                                         Concluded
               Three20 Enterprises, Plaintiff                                               Sarasota, FL 34237
               v.
               Favor of God Ministries, Inc.
               and Oklahoma Not-for-profit
               Corporation; Favour Africa,
               Inc. a Florida Not-for-profit
               Corporation; Carole Ward;
               Daryl Anderson; Joseph
               Horevay; and Tossie Wiley,
               Jr.
               Case No. 2017-CA-003386 NC

       7.2.    Duane Joseph Horevay,                             Request to                 Tusla County District Court                  Pending
               Plaintiff v. Favor of God                         Appoint Trustee            500 S. Denver Ave.                           On appeal
               Ministries, Inc., Defendant                                                  Tulsa, OK 74103
                                                                                                                                         Concluded
               CV 2017-1205

8. Assignments and receivership
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
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 Debtor        Favor of God Ministries, Inc.                                                                Case number (if known)



    List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
    receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

                Recipient's name and address                     Description of the gifts or contributions                  Dates given                  Value

       9.1.     FAVOUR OF GOD                                    purpose of ministry was to send most all
                MINISTRIES                                       income to FAVOUR OF GOD MINISTRIES.
                (NGO in Gulu District,                           for ministry needs in Uganda
                Uganda)
                1767 Lakewood Ranch Blvd
                223
                Bradenton, FL 34211-4906                                                                                    2015-2017              Unknown

                Recipients relationship to debtor




 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss   Value of property
       how the loss occurred                                                                                                                             lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates         Total amount or
                 the transfer?                                                                                                                        value
                 Address
       11.1.     Joseph Horevay
                 1969 East 123rd St Unit 4                                                                                     December
                 Cleveland, OH 44106                                 Mr. Horevay also paid the $335 filing fee                 2017                $3,165.00

                 Email or website address


                 Who made the payment, if not debtor?
                 Joseph Horevay



12. Self-settled trusts of which the debtor is a beneficiary

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 Debtor      Favor of God Ministries, Inc.                                                               Case number (if known)



    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value
       13.1 FAVOUR OF GOD
       .    MINISTRIES
               (NGO in Gulu District,
               Uganda)
               1767 Lakewood Ranch Blvd
               223                                               See Exhibit A to Asset Sales Agreement,
               Bradenton, FL 34211-4906                          attached                                                8/1/2017                       $5,000.00

               Relationship to debtor
               none


 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.




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 Debtor        Favor of God Ministries, Inc.                                                            Case number (if known)



17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was           Last balance
              Address                                            account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.1.     Chase                                           XXXX-5335                   Checking                 Fall 2017                      Unknown
                 PO Box 15298                                                                Savings                  (It is believed the
                 Wilmington, DE 19850                                                                                 account was
                                                                                             Money Market
                                                                                                                      closed, but it is
                                                                                             Brokerage
                                                                                                                      possible is still
                                                                                             Other                    open. Exact date
                                                                                                                      of closure
                                                                                                                      unknown.)

       18.2.     Bank Of America                                 XXXX-2656                   Checking                 Fall 2017                      Unknown
                 Po Box 17054                                                                Savings                  (It is believed the
                 Wilmington, DE 19850                                                                                 account was
                                                                                             Money Market
                                                                                                                      closed, but it is
                                                                                             Brokerage
                                                                                                                      possible is still
                                                                                             Other                    open. Exact date
                                                                                                                      of closure
                                                                                                                      unknown.)


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own




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 Debtor      Favor of God Ministries, Inc.                                                              Case number (if known)




21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To



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 Debtor      Favor of God Ministries, Inc.                                                              Case number (if known)



       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.1.       Nina Henry                                                                                                           volunteer
                    address unknown                                                                                                      bookkeeper until
                                                                                                                                         recent
       26a.2.       Teri Hoppel                                                                                                          various
                    address unknown


    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Joseph Horevay
                    1969 East 123rd St Unit 4
                    Cleveland, OH 44106

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       No Shareholders                                                                                    Not for Profit Oklahoma
                                                                                                          Corporation- No authority to
                                                                                                          issue shares
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Joseph Horevay                                 1969 East 123rd St Unit 4                           Sole Director
                                                      Cleveland, OH 44106



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.



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 Debtor      Favor of God Ministries, Inc.                                                              Case number (if known)



       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Carole Ward                                    1767 Lakewood Ranch Boulevard                       Former director                  Resigned
                                                      Number 223                                                                           7/17/2017
                                                      Bradenton, FL 34211
       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Daryl Anderson                                 3580 West 54th Street                               Former Director                  Resigned
                                                      Cleveland, OH 44102                                                                  7/17/2017

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Tossie Wiley, Jr.                              231 Crescent Ridge Drive                            Former Director                  Resigned
                                                      Independence, OH 44131                                                               7/17/2017

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Don Bafia                                      shareholder of Hawk Island Leasing,                 Former Director                  position ended
                                                      LLC                                                                                  8/2016
                                                      c/o Norton, Hammersley, Lopez &
                                                      Skokos
                                                      1819 Main Street, Suite 610
                                                      Sarasota, FL 34236

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation




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 Debtor      Favor of God Ministries, Inc.                                                              Case number (if known)



 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         December 17, 2017

 /s/ Joseph Horevay                                                     Joseph Horevay
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Sole Director

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




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                Favor of God Ministries, Inc.

                Asset Sales Agreement
    Parties: 

         Favor of God Ministries, Inc. (“FOG US”)
         Tulsa, Oklahoma

         Favour of God Ministries (“FOG Uganda”)
         Gulu, Uganda


    Background
    FOG US has filed Articles of Dissolution, effective June 27, 2017.

    FOG US was a US ministry collaborator of FOG Uganda until the
    dissolution.

    FOG US recognizes FOG Uganda was using the marks “Favor of
    God” and “Favor of God Ministries” (using favor and favour
    interchangeably) before FOG US was incorporated. FOG US
    recognizes FOG US was using those marks with the permission of
    FOG Uganda as FOG Uganda’s licensee. Consequently, FOG
    Uganda has a superior right to the use of any intellectual property
    related to “Favor of God” and “Favor of God Ministries,” including
    the website name favorofgod.org and social media profiles that use
    those marks or derivatives of those marks.

    To ensure an arm’s­length transaction, the Parties have used
    objective valuation comparisons as listed on Exhibit A (“FOG US
    Assets”) to determine fair­market value. However, as with any
    valuation, fair­market value is a range, so these valuations are a
    reference and should be considered collectively. Additionally, FOG
    Uganda’s release of claims against FOG US serves as additional
    consideration.




                                  Asset Sales Agreement | Favor of God | Page 1 of 5


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    Obligations of FOG US
    FOG US agrees to:

    A.   Transfer the assets listed on Exhibit A to FOG Uganda; and

    B.   Cease and desist from using “Favor of God,” “Favor of God
         Ministries,” and related terms except to wind up the business of
         FOG US.

    C.   To release FOG Uganda, it’s Officers, Directors, employees, and
         agents from all claims including, without limitation, any claims
         for copyright or trademark violations.


    Obligations of FOG Uganda
    FOG Uganda agrees to:

    A.   Pay FOG US $5,000 (USD) on or before August 31, 2017 in
         exchange for the assets listed on Exhibit A (“FOG US Assets”).

    B.   To release FOG US, it’s Officers, Directors, employees, and
         agents from all claims including, without limitation, any claims
         for copyright or trademark violations.


    Entire Agreement
    This Agreement represents the entire agreement between the Parties
    and supersedes all other agreements or representations, whether oral
    or written.


    Modification of Agreement
    This Agreement may not be altered, modified, or amended except in
    writing properly executed by all Parties.




                                 Asset Sales Agreement | Favor of God | Page 2 of 5


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    Commencement and Duration of Agreement
    This Agreement will become effective on the latest date of execution
    by the Parties below and will continue in effect until all obligations
    contemplated are completed.


    Interpretation
    The language used in this Agreement is chosen jointly by the Parties
    to express their mutual intent, and no rule of construction will be
    applied against either Party, including any rule of draftsmanship.


    Severability
    If any provision of this Agreement is determined to be invalid, illegal,
    or unenforceable, the remaining provisions of this Agreement remain
    in full force and effect.


    Effect of Waiver
    The Parties agree that a waiver by either Party of a breach of this
    Agreement does not constitute a waiver of any prior or subsequent
    breach.


    Governing Law and Venue
    The laws of the State of Texas, without regard to conflicts of law
    provisions, govern all matters arising out of or relating to this
    Agreement. The Parties agree that any claim or dispute they may have
    against each other must be resolved by a court of appropriate
    jurisdiction located in Harris County, Texas, except as may otherwise
    be agreed by the Parties. The Parties agree to submit to the personal
    jurisdiction of the courts located within Harris County, Texas for the
    purpose of litigating all such claims or disputes.




                                  Asset Sales Agreement | Favor of God | Page 3 of 5


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    Mediation
    The Parties agree to attempt to resolve any dispute, claim, or
    controversy arising out of or relating to this Agreement by mediation.
    The Parties agree that their respective good faith participation in
    mediation is a condition precedent to pursuing any other available
    legal or equitable remedy, including the commencement of litigation.


    Paragraph Headings
    All paragraph headings set forth in this Agreement are for purposes
    of identification and convenience only, and shall not control or affect
    the meaning, construction, or effect of this Agreement.


    Counterpart Execution
    This Agreement may be executed in multiple counterparts, each of
    which shall be fully effective as an original, and which together shall
    constitute one instrument. A photocopy, facsimile, or electronic
    signature on this Agreement shall have the same force and effect as
    an original signature.


    Execution
    The Parties have executed this Agreement to be effective on the
    latest date written below.


    ________________________________ ____________________________________________________________________ ____________________________________________________________ ________________________________________ ________________________ _______________________ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
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    Favor of God Ministries, Inc.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Date
    By Joseph Horevay, Sole Director


    ________________________________ ____________________________________________________________________ ____________________________________________________________ ________________________________________ ________________________ _______________________ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
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    Favour of God Ministries (Uganda).                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Date
    By Carole Ward, Director/Founder
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Crafted by WilkersonLegal


                                                                                                                                                                                                                                                                                                                                                                                                                    Asset Sales Agreement | Favor of God | Page 4 of 5


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Doc ID: a9a0521a6fc3baa1cdcb749daef06b2b92681557
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              Favor of God Ministries, Inc.

                           Exhibit A
                            FOG US Assets
    Website, website content, and website names (urls): ______ $1,045.38
    (average of 8 website valuations)

    Social media profiles: ________________________________ $1,132.15
    (including, without limitation, Twitter (average from 3 valuations:
    $33.89), Facebook (only 1 valuation could be found: $299.91),
    YouTube (only 1 valuation could be found: $89.00))

    Phone number and mailing address: ____________________ $150.00
    (actual value is significantly less since the phone number and
    mailing address has been changed in the past will little disruption,
    but $150.00 is used here to ensure an arm’s­length transaction)

    Samsung Notebook used by bookkeeper: ________________ $292.17
    (Current price for this model (NP110S1K­K01US, refurbished) is
    $292.17)

    Miscellaneous Office Supplies:__________________________ $350.00

    Miscellaneous Electronic Equipment: ____________________ $300.00
    (Including, without limitation, 4 used hard drives and a webcam)

    Database: ___________________________________________ $1,250.00
    (Average of 7 valuations was $580.16, but $1,250.00 is used here to
    ensure an arm’s­length transaction)

    Intellectual property: __________________________________ $150.00
    (actual value is $0.00 since FOG Uganda has superior claims to any
    marks, but $150.00 is used here to ensure an arm’s­length
    transaction)

    All other FOG US assets other than cash, if any: ___________ $330.30

    Total  ______________________________________________ $5,000.00 


                                 Asset Sales Agreement | Favor of God | Page 5 of 5


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                                                                                  Audit Trail

TITLE                             Asset Sales Agreement

FILE NAME                         Uganda - US Sales Agreement (ver 2).pdf

DOCUMENT ID                       a9a0521a6fc3baa1cdcb749daef06b2b92681557

STATUS                              Completed




                07/31/2017        Sent for signature to Joseph Horevay (horevay1@gmail.com)
                19:22:06 UTC      and Carole Ward (carole@favorofgod.org)
                                  IP: 172.58.143.74




                07/31/2017        Viewed by Joseph Horevay (horevay1@gmail.com)
                19:27:33 UTC      IP: 184.56.163.110




                07/31/2017        Signed by Joseph Horevay (horevay1@gmail.com)
                19:27:57 UTC      IP: 184.56.163.110




                08/01/2017        Viewed by Carole Ward (carole@favorofgod.org)
                05:34:29 UTC      IP: 197.157.0.17




                08/01/2017        Signed by Carole Ward (carole@favorofgod.org)
                17:58:45 UTC      IP: 41.210.143.189




                08/01/2017        The document has been completed.
                17:58:45 UTC
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Northern District of Oklahoma
 In re       Favor of God Ministries, Inc.                                                                    Case No.
                                                                                    Debtor(s)                 Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     3,135.00
             Prior to the filing of this statement I have received                                        $                        0.00
             Balance Due                                                                                  $                     3,135.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):           Check has been made for full amount but not yet deposited.

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Exemption planning; preparation and filing of reaffirmation agreements and applications as needed; meeting of
                 creditors. In addition to portion of fee paid as stated herein, the court's filing fee and a credit report fee for each
                 party has been paid by client(s).

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               By agreement with the debtor(s), the above-disclosed fee does not include the
               following services: Representation of the debtors in any dischargeability actions,
               judicial lien avoidances, relief from stay actions, 2004 exams or any other adversary or contested
               matter/proceeding. In Chapter 13 Bankruptcy Cases, attorney time, legal assistant time, and expenses will be
               billed against the file at the rate of $275.00 per hour for attorney time, $65.00 per hour for legal assistant time (or
               the firm's current billing rates), and actual expenses. If such time and expenses exceed the amount stated above,
               an application to the Court may be made for additional fees and expenses to be paid through the Chapter 13 Plan
               or by the Debtor(s) as the Court orders may provide.
                                                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     December 17, 2017                                                             /s/ Ron D. Brown OBA
     Date                                                                          Ron D. Brown OBA 16352
                                                                                   Signature of Attorney
                                                                                   Brown Law Firm PC
                                                                                   715 S. Elgin Ave.
                                                                                   Tulsa, OK 74120
                                                                                   918-585-9500 Fax: 866-552-4874
                                                                                   ron@ronbrownlaw.com
                                                                                   Name of law firm




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Revised 02/2012



                                                               United States Bankruptcy Court
                                                                     Northern District of Oklahoma
 In re      Favor of God Ministries, Inc.                                                                  Case No.
                                                                                  Debtor(s)                Chapter    7


                                               VERIFICATION AS TO OFFICIAL CREDITOR LIST

                                                                                   Original
                                                                                   Amendment
                                                                            Add             Delete
        I hereby certify under penalty of perjury that the master mailing list of creditors submitted either on the Creditor
List Submission application, or uploaded to the Electronic Case Filing System is a true, correct and complete listing to the
best of my knowledge.

         I further acknowledge that (1) the accuracy and completeness in preparing the creditor listing are the shared
responsibility of the debtor and the debtor’s attorney, (2) the court will rely on the creditor listing for all mailings, and (3)
that the various schedules and statements required by the Bankruptcy Rules are not used for mailing purposes.

        If this filing is an amendment to the creditor list, indicate only the number of creditors being added or to be
deleted at this time. (For verification purposes, attach a list of the creditors being submitted, uploaded, or to be
deleted.)

               6      # of Creditors (or if amended, # of creditors added)

Method of submission:
       a)    X     uploaded to Electronic Case Filing System; or
       b) _______Creditor List Submission application (to be used by Pro Se filers, found on the Court’s website at
                    www.oknb.uscourts.gov, or available in the Clerk’s Office)
__________# of Creditors (on attached list) to be deleted

 /s/ Joseph Horevay
 Debtor Signature                                                             Joint Debtor Signature
 Address:(if not represented by an attorney)                                  Address:(if not represented by an attorney)


 Phone:(if not represented by an attorney)                                    Phone:(if not represented by an attorney)


 /s/ Ron D. Brown OBA                                                         Date: December 17, 2017
 Attorney Signature
 Ron D. Brown OBA 16352                                                       [Check if applicable]
 Brown Law Firm PC                                                               Creditors with foreign addresses included
 715 S. Elgin Ave.
 Tulsa, OK 74120-0000
 918-585-9500
 866-552-4874
 ron@ronbrownlaw.com




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                      Carole Ward
                      1767 Lakewood Ranch Boulevard Number 223
                      Bradenton, FL 34211

                      Daryl Anderson
                      3580 West 54th Street
                      Cleveland, OH 44102

                      Favour Africa, Inc.
                      1767 Lakewood Ranch Blvd 223
                      Bradenton, FL 34211-4906

                      Hawk Island Leasing, LLC
                      c/o Norton, Hammersley, Lopez & Skokos
                      1819 Main Street, Suite 610
                      Sarasota, FL 34236

                      Joseph Horevay
                      1969 East 123rd St Unit 4
                      Cleveland, OH 44106

                      Tossie Wiley, Jr.
                      231 Crescent Ridge Drive
                      Independence, OH 44131
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                                                               United States Bankruptcy Court
                                                                     Northern District of Oklahoma
 In re      Favor of God Ministries, Inc.                                                                  Case No.
                                                                                   Debtor(s)               Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Favor of God Ministries, Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 December 17, 2017                                                     /s/ Ron D. Brown OBA
 Date                                                                  Ron D. Brown OBA 16352
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Favor of God Ministries, Inc.
                                                                       Brown Law Firm PC
                                                                       715 S. Elgin Ave.
                                                                       Tulsa, OK 74120
                                                                       918-585-9500 Fax:866-552-4874
                                                                       ron@ronbrownlaw.com




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FORM 7007.1-1 (10/07)



                                                                     United States Bankruptcy Court
                                                                       Northern District of Oklahoma
  In re       Favor of God Ministries, Inc.                                                                       Case No.
                                                                                       Debtor(s)                  Chapter     7


                                                             CORPORATE OWNERSHIP STATEMENT

       Pursuant to Bankruptcy Rules 1007(a) and Bankruptcy Rule 7007.1, and Local Rules 1007-1, 2003-2, 7007.1-1
and 9014-1(B),.
                                                         Favor of God Ministries, Inc.                                ,a
                                                                            [Name of Corporate Party]
                                                        (check one):

                                                             Corporate Debtor
                                                             Party to an adversary proceeding
                                                             Party to a contested matter
                                                             Member of committee of creditors

makes the following disclosure(s):

All corporations, other than a governmental unit, that directly or indirectly own ten percent (10%) or more of any class of
the corporation’s equity interests are listed below:




OR

    There are no entities that directly or indirectly own 10% or more of any class of the corporation’s equity interest.

      Dated December 3, 2017
                                                                                          /s/ Ron D. Brown OBA
                                                                                          Ron D. Brown OBA 16352
                                                                                          Brown Law Firm PC
                                                                                          715 S. Elgin Ave.
                                                                                          Tulsa, OK 74120-0000
                                                                                          918-585-9500
                                                                                          866-552-4874
                                                                                          ron@ronbrownlaw.com
                                                                                          Attorney for      Favor of God Ministries, Inc.




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